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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

DYLAN BEGIN                                         CIVIL ACTION NO.:

       Plaintiff,

                v.

BECTON, DICKINSON AND COMPANY :

       Defendant.                                   October 7, 2021

                                   NOTICE OF REMOVAL

TO:    THE UNITED STATES DISTRICT COURT FOR THE
       DISTRICT OF CONNECTICUT

       1.       Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant Becton, Dickinson and

Company ("Defendant"), by and through its undersigned counsel, hereby notices the removal of

this action to the United States District Court for the District of Connecticut. As grounds in

support of this Notice of Removal, Defendant states the following:

                            I.      TIMELINESS OF REMOVAL

       2.       On or about September 10, 2021 Plaintiff Dylan Begin ("Plaintiff') filed a civil

action alleging disability discrimination, failure to accommodate and retaliation against

Defendant in the Superior Court of Connecticut, Judicial District of Hartford, Docket No. NNH-

CV21-6117213-S (the "Complaint").       Copies of the Summons, and Complaint are attached

hereto as Exhibit A, pursuant to 28 U.S.C. § 1446(d). These are the only process, pleadings, or

orders known by Defendant to have been served in this action.

       3.      Defendant was served with a copy of Complaint on or around September 8, 2021.
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        4.        Accordingly, pursuant to 28 U.S.C. § 1446(b), this Notice of Removal has been

timely filed within 30 days after service of process on Defendant of the Complaint and within 30

days of this matter becoming removable.

                                           II.    VENUE

        5.        The Superior Court of Connecticut, Judicial District of New Haven, is located

within the United States District Court for the District of Connecticut.           28 U.S.C. § 86.

Therefore, venue is proper in this Court because it is the "district and division embracing the

place where such action is pending." 28 U.S.C. § 1441(a).

                  III.     BASIS FOR REMOVAL: DIVERSITY JURISDICTION

        6.        This action is properly removable under 28 U.S.C. §1441(b) because the United

States District Court has original jurisdiction in this case under 28 U.S.C. §1332(a), which provides

that "[title district courts shall have original jurisdiction of all civil actions where the matter in

controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is between .

citizens of different States . . . ."

         A.       AMOUNT IN CONTROVERSY

         7.       As set forth above, diversity jurisdiction exists "where the matter in controversy

exceeds the sum or value of $75,000, exclusive of interest and costs

         8.       In accordance with Connecticut practice, Plaintiffs Statement of Amount in Demand

"requests damages 'in excess of $15,000."' Baron v. Maxam N Am., Inc., No. 3:11-CV-198, 2012

WL 1247257, at *3 (D. Conn. April 13, 2012); Pl.'s Compl. at p. 8. Where, as here, "the pleadings

are inconclusive as to the amount in controversy, courts may look outside the pleadings to other

evidence in the record." Id. (citing Vermande v. Hyundai Motor Am., Inc., 352 F.Supp.2d 195, 199

(D. Conn. 2004)).




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        9.       Plaintiffs Complaint contains three counts against Defendant, stating claims for:

disability discrimination in violation of the Connecticut Fair Employment Practices Act ("CFEPA"),

Conn. Gen. Stat. § 46a-60 et seq. (Count One); failure to accommodate in violation of CFEPA,

Conn. Gen. Stat. § 46a-60(b)(1) (Count Two); and retaliation in violation of CFEPA, Conn. Gen.

Stat. § 46a-60(b)(1) (Count Three).

        10.      In relation to his claims, Plaintiff seeks monetary damages, which include:

compensatory damages; damages for back pay; front pay; lost personal days; emotional distress; loss

pension/retirement benefits; consequential damages; prejudgment interest; CFEPA punitive

damages; as well as attorneys' fees and costs, and other relief (Pl.'s Compl. at p. 7.)

        11.      According to the allegations in the Complaint, Plaintiffs employment with

Defendant terminated on or about January 2, 2020. (Compl. at ¶ 29). Therefore, as of the date of the

Notice of Removal, and assuming Plaintiff has not secured a new position, he has been out of work

for over one year and nine months (or about 92 weeks). According to the allegations in the

Complaint, Defendant hired Plaintiff as a Senior Process Technician. (Compl. at ¶ 9). As a full-time

employee of Defendant, upon information and belief, Plaintiff earned approximately $30/hour

totaling $1,200/week. Consequently, as of the date of this Notice of Removal, Plaintiffs alleged lost

wages are at least $75,000.00. While Defendant does not concede or admit any damages, based on

the likely date of a trial in this matter, Plaintiff's claims for back pay damages, alone, will likely

exceed $75,000.00, if he is successful in his claims. Plaintiff also seeks damages for emotional

distress, which he has indicated his alleged emotional distress damages exceed $75,000.00.

       12.       Finally, where attorneys' fees are potentially recoverable pursuant to statute, which is

the case here, such fees may be used to satisfy the amount in controversy requirement. See Kimm v.

KCC Trading Inc., No. 10-4880, 2012 WL 171503, at *1 (2d Cir. Jan. 23, 2012); Conn. Gen. Stat. §




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46a-104. Given the nature of Plaintiff's claims, his attorneys' fees could exceed $75,000.00 if he is

successful.

        13.     Plaintiffs costs and expenses are accruing and will contribute to the actual amount in

controversy.

        14.     Accordingly, pursuant to 28 U.S.C. §1446(c)(2)(B), although Defendant does not

concede or admit that Plaintiff suffered any damages, or that it is liable for any claimed damages,

removal is proper because based upon the preponderance of the evidence, the amount in controversy

exceeds the sum or value of $75,000.00, exclusive of interest and costs.

        B.      DIVERSITY OF CITIZENSHIP

        15.     According to his Complaint, Plaintiff is a resident and citizen of the state of

Connecticut. (See Compl. ¶ 1).

        16.     Defendant is a New Jersey corporation with its principal place of business in New

Jersey. Thus, under 28 U.S.C. § 1332, Defendant is not a citizen of Connecticut. (See Compl. ¶ 2).

        17.     Therefore, complete diversity exists between the named parties under 28 U.S.C. §

1332, as Defendant is not a citizen of the same state as Plaintiff.

                                        IV.     CONCLUSION

        18.     To date, Defendant has not filed a responsive pleading in Plaintiffs state court action,

and no other proceedings have transpired in that action.

        19.     Pursuant to 28 U.S.C. § 1446, a copy of this Notice of Removal has been served upon

all adverse parties and upon the Clerk of the State Court.

        20.     By removing this matter, Defendant does not waive or intend to waive any defense

that may be available to it.

        WHEREFORE, Defendant respectfully requests that this Honorable Court take

jurisdiction of this action and issue all necessary orders and process to remove said action from


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the Superior Court of Connecticut, Judicial District of New Haven, to the United States District

Court for the District of Connecticut.



                                            DEFENDANT,
                                            BECTON, DICKINSON AND COMPANY

                                            By:     /s/ Kelly M. Cardin
                                            Kelly M. Cardin (CT29162)
                                            Nicole S. Mule (CT30624)
                                            Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
                                            281 Tresser Blvd., Suite 602
                                            Stamford, CT 06901
                                            Telephone: 203.969.3109
                                            Facsimile: 203.969.3150
                                            kelly.cardin@ogletree.com
                                            nicole.mule@ogletree.com




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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 7, 2021, the foregoing was filed electronically and served

by mail on anyone unable to accept electronic filing Notice of this filing will be sent by email to

all parties by operation of the court's electronic filing system or by mail to anyone unable to

accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access this

document through the court's CM/ECF System.



                                                            /s/ Nicole S. Mule
                                                     Nicole S. Mule




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                    EXHIBIT A
                                                                48757027.1
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SUMMONS - CIVIL                                                                   For information on                                STATE OF CONNECTICUT
JO-CV-1 Rev. 2-20                                                                 ADA accommodations,                                   SUPERIOR COURT
C.G.S. §§ 81-346, 61-347, 51-349, 61-350, 52-45a, 52-48,52-259;                   contact a court clerk or
P.B. §§ 3-1 through 3-21, 8-1, 10-13                                                                                                           www.jud.ct.gov
                                                                                  go to: www.lud.ctxmv/ADA.
Instructions are on page 2.
O     Select if amount, legal Interest, or property in demand, not including interest and costs, is LESS than $2,500.
0     Select if amount, legal interest, or property In demand, not including interest and costs, is $2,500 or MORE.
O     Select if claiming other relief in addition to, or in place of, money or damages.

TO: Any proper officer
By authority of the State of Connecticut, you are hereby commanded to make due and legal service of this summons and attached complaint.
Address of court clerk (Number, street, town and zip code)                  Telephone number of clerk           Return Date (Must be a Tuesday)
235 Church Street; New Haven, CT 06510                                      ( 203) 503 —6800                    1010512021
    Judicial District                                  At (City/Town)                                  Case type code (See list on page 2)
O Housing Session 0 Number:                            New Haven                                        Major: M                Minor: 90
For the plaintiff(s) enter the appearance of:
Name and address of attorney, law firm or plaintiff If se (-represented (Number, street, town and zip code)                                 Jude number (if attorney or law firm)
Sabatini and Associates, LLC; One Market Square; Newington, CT 06111                                                                        052654
Telephone number                            Signature of plaintiff (if sea-represented)
( 860) 667 —0839
The attorney or law firm appearing for the plaintiff, or the plaintiff if                                   E-mail address far delivery of papers under section 10-13 of the
                                                                                                            Connecticut Practice Book (filagreed)
self-represented, agrees to accept papers (service) electronically
in this case under Section 10-13 of the Connecticut Practice Book. ❑ Yes 0 No
     Parties            Name (Last, First, Middle initial) and address of each party (Number; street; P.O. Box; town; state; zip; country, if not USA)
      First         Name: BEGIN, Dylan
                                                                                                                                                      P-01
     plaintiff      Address: 38 Maple Street; Seymour, CT 06483
    Additional      Name:                                                                                                                             P-02
     plaintiff      Address:
      First         Name: BECTON, DICKINSON and COMPANY; 1 Becton Drive; Franklin Lakes, New Jersey 07417
                                                                                                                                                      D-01
    defendant       Address: Agent: CT Corporation System; 67 Burnside Avenue; East Hartford, CT 06108
    Additional      Name:                                                                                                                             0-02
    defendant       Address:
    Additional      Name:                                                                                                                             D-03
    defendant       Address:
    Additional      Name:                                                                                                                             D-04
    defendant       Address:
Total number of plaintiffs: 1                            Total number of defendants:1                                  in Form JD-CV-2 attached for additional parties

Notice to each defendant
1. You are being sued. This is a summons in a lawsuit. The complaint attached states the claims the plaintiff Is making against you.
2. To receive further notices, you or your attorney must file an Appearance (form JD-CL-12) with the clerk at the address above. Generally,
   it must be filed on or before the second day after the Return Date. The Retum Date is not a hearing date. You do not have to come to
   court on the Return Date unless you receive a separate notice telling you to appear.
3. If you or your attorney do not file an Appearance on time, a default judgment may be entered against you. You can get an Appearance
   form at the court address above, or on-line at Jtoel/jud ctgov/webformst
4. If you believe that you have insurance that may cover the claim being made against you in this lawsuit, you should immediately contact
   your insurance representative. Other actions you may take are described in the Connecticut Practice Book, which may be found in a
   Superior court law library or on-line at httos•liwww jud ct gov/ob.htm.
5. If you have questions about the su           s and complaint, you should talk to an attorney.
   The court staff Is not allowe           'e advice on legal        rs.
0                  Signed (Sign   se/e- proper box)                        Commissioner of Superior Court Name of person signing
9- -2021                                                                                            Clerk James V. Sabatini, Esquire
If this summons is ned by Clerk:                                                                                                                    T191.99i tsOINV
a. The signing s been d • e so at the plaintiff(s) will not be denied access to the courts.
b. It is the responsibility      plaintiff(s) to ensure that service Is made in the manner provided by law.
c. The court staff is not permitted to give any legal advice in connection with any lawsuit.
d. The Clerk signing this summons at the request of the plaintiff(s) is not responsible in any way for any
     errors or omissions in the summons, any allegations contained in the complaint, or the service of the                                                             arshal
     summons or complaint.
                                                                                             Date                                                    r"^
                                                                                                                                            Docket`Nerithbf   rd       County
I certify I have read and Signed (Sell-represented plalnef0
                                                                                                                                                                   3


understand the above:
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RETURN DATE: October 5, 2021

DYLAN BEGIN                                    SUPERIOR COURT

VS.                                              NEW HAVEN JUDICIAL DISTRICT

BECTON, DICKINSON and
COMPANY                                        SEPTEMBER 7, 2021

                                           COMPLAINT


       1.        Plaintiff Dylan Begin was and is a Connecticut citizen residing in the Town of

Seymour.

       2.        Defendant Becton, Dickinson and Company was and is a New Jersey corporation

with a principal place of business located at 1 Becton Drive, Franklin Lakes, New Jersey 07417,

       3.        Defendant employs three (3) or more employees.

       4.        Defendant is an employer within the meaning of Connecticut's Fair Employment

Practices Act.

       5.        Plaintiff is an employee within the meaning of Connecticut's Fair Employment

Practices Act.

       6.        Defendant employed plaintiff,

       7.        Defendant hired plaintiff on or about May 16, 2019.

       8.        Plaintiff worked for defendant at its Cannan, Connecticut facility located at 7

Grace Way, Canaan, Connecticut.

       9.        Defendant hired plaintiff as a Senior Process Technician.

       10.       Plaintiff was directly supervised by Mike Vidal.

       11.       On August 31st 2019, plaintiff went out on a medical leave of absence from work.

       12.       The medical leave of absence was approximately three and a half weeks.



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          13.    When plaintiff returned to work, he was issued a negative 90-day performance

review.

          14.   On November 18, 2019, plaintiff returned to work after the weekend ended.

          15.   Plaintiff returned to find that a stockout had occurred.

          16.   A stockout is a shortage of components.

          17.   A stockout prevents defendant from producing products.

          18.   The stockout occurred because some of defendant's staff called out of work and

some of the machines that produce components broke.

          19.   One of defendant's employees named Scott Hinkley shut down one of the

machines used by defendant because it needed preventative maintenance.

          20.   Hinkley's decision contributed to the stockout.

          21.   Plaintiff was not responsible for the stockout because he was not at working over

the weekend, he did not break the machines, and he did not cause staff to callout.

          22.   Plaintiff was blamed for the stockout by Vidal anyway.

          23.   Plaintiff had supervisory authority.

          24.   Vidal removed plaintiff's decision-making authority because of the stockout.

          25.   On or about December 5, 2019, plaintiff underwent bariatric surgery.

          26.   Prior to the surgery, plaintiff informed defendant that he required the bariatric

surgery.

          27.   Defendant granted Plaintiff the medical leave of absence for the surgery.

          28.   On December 4, 2019, Vidal told plaintiff that there would be a "talk" when

plaintiff came back from surgery.

          29.   On January 2, 2020, defendant terminated plaintiffs employment.



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          30.   Plaintiff has a disability within the meaning of the CFEPA.

          31.   Plaintiff suffers from morbid obesity.

          32.   Morbid obesity is a chronic condition.

          33.   The disease of morbid obesity interferes with basic physical functions such as

breathing or walking. Long-term implications of the disease include shorter life expectancy,

serious health consequences in the form of weight-related conditions such as type 2 diabetes and

heart disease, and a lower quality of life with fewer economic and social opportunities.

          34.   Defendant's explanation for the termination was the poor 90-day performance

review.

          35.   Any and all excuses to be offered by defendant to explain the termination decision

would be a pretext to mask unlawful retaliation and discrimination.

       36.      Plaintiff performed his job at or above a satisfactory level.

       37.      Plaintiff can perform the essential functions of his job with or without a

reasonable accommodation.

       38.      On or about July 6, 2020, plaintiff filed a complaint against defendant with the

State of Connecticut Commission on Human Rights and Opportunities (CHRO).


       39.      On or about June 16, 2021, plaintiff received a Release of Jurisdiction from the

CHRO (copy attached hereto as Ex.1).


                                        FIRST COUNT
                (Disability Discrimination in Violation of C.G.S. §46a-60(b)(1))

       1.       Plaintiff repeats the allegations in paragraphs 1 through 39 above as if fully

incorporated herein.




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        40.    Defendant, by and through its agents and/or employees, violated the Connecticut

Fair Employment Practices Act C.O.S. §46a-60a et seq. in one or more of the following ways.

       (a)     In that defendant interfered with plaintiffs privilege of employment on the basis

of plaintiffs disability (actual or perceived as);

       (b)     In that defendant discriminated against the plaintiff in such a way that adversely

affected his status as an employee;

       (c)     In that defendant treated the plaintiff adversely different from similarly situated

employees;

       (d)     In that defendant terminated plaintiffs employment on account of his disability;

       (e)     In that defendant intentionally discriminated against the plaintiff.

       41.     As a direct and proximate result of defendant's unequal treatment and

discrimination, plaintiff has been deprived of his employment and equal employment

opportunities because of his disability.

       42.     As a direct and proximate result of defendant's discrimination of the plaintiff,

plaintiff has been deprived of income, wages, and benefits.

       43.     As a further result of defendant's termination and discrimination, plaintiff has

suffered emotional pain, suffering, embarrassment, shame, inconvenience, mental anguish, loss

of enjoyment of life, impairment of her personal and professional reputation, damage caused by

the Plaintiffs loss of insurances and savings and investment opportunities, and other pecuniary

and non-pecuniary losses.

       44.     Plaintiff has suffered and will continue to suffer injuries and losses as a result of

defendant's wrongful and discriminatory acts.

                                  SECOND COUNT
               (Failure to Accommodate in Violation of C.G.S. §46a-60(b)(1))


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        1.      Plaintiff repeats the allegations in paragraphs 1 through 44 above as if fully

incorporated herein.

        45.     Defendant, by and through its agents and/or employees, violated the Connecticut

Fair Employment Practices Act C.G.S. §46a-60a et seg. in one or more of the following ways.

        (a)     In that defendant failed to accommodate plaintiff's disability;

        (b)     In that defendant failed to engage in good faith with the reasonable

accommodation interactive process.

        46.     As a direct and proximate result of defendant's failure to accommodate, plaintiff

has been deprived of income, wages, and benefits.

        47.     As a further result of defendant's failure to accommodate, plaintiff has suffered

emotional pain, suffering, embarrassment, shame, inconvenience, mental anguish, loss of

enjoyment of life, impairment of his personal and professional reputation, damage caused by the

Plaintiffs loss of insurances and savings and investment opportunities, and other pecuniary and

non-pecuniary losses.

       48.      Plaintiff has suffered and will continue to suffer injuries and losses as a result of

defendant's wrongful and discriminatory acts.


                                     THIRD COUNT
   (Retaliation In Violation of Connecticut Fair Employment Practices Act C.G.S. §46a-
                                         60(b)(1))

       1.       Plaintiff repeats and re-alleges the allegations set forth above as though fully set

forth herein.




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        49.    Defendant, by and through its agents and/or employees, violated the Connecticut

Fair Employment Practices Act C.G.S. §46a-609(b)(1) et seq. in one or more of the following

ways.

        a.     In that defendant retaliated against the plaintiff for requesting a reasonable

accommodation.

        50.    As a result of defendant's violation of Connecticut Fair Employment Practices

Act C.G.S. §46a-60(a)(4), plaintiff suffered harms and losses including: loss of employment, loss

of income and wages and benefits, and harm to his professional reputation.

        51.    As a further result of defendant's retaliatory conduct, plaintiff has suffered

emotional pain, suffering, embarrassment, shame, inconvenience, mental anguish, loss of

enjoyment of life, impairment of his personal and professional reputation, damage caused by the

Plaintiffs loss of insurances and savings and investment opportunities, and other pecuniary and

non-pecuniary losses.

        52.    Plaintiff has suffered and will continue to suffer injuries as a result of defendant's

wrongful and retaliatory acts.




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                                    DEMAND FOR RELIEF

        WHEREFORE, plaintiff prays for appropriate damages including: compensatory

damages; damages for back pay, front pay, lost personal days, emotional distress; loss

pension/retirement benefits; attorneys' fees; costs; interest; consequential damages; prejudgment

interest; CFEPA punitive damages; job reinstatement; for an injunction requiring the removal of

any and all adverse information contained in plaintiffs personnel file; for a trial by jury; and for

all other just and proper relief.

        Hereof fail not but of this writ with your doings thereon make due service and

return according to law.

        Dated at Newington, Connecticut this 7th day of September, 202




                                              James
                                              SAB INI AND                  ES, LLC
                                              1 Market Squar
                                              Newington, C         1
                                              Tel. No.: (860) 667-0839
                                              Fax No.: (860) 667-0867
                                              Email: jsabatini@sabatinilaw.com
                                             Juris No. 052654




Please file our appearan
on behalf of the Plain



James V. Sa

                                                                                   . Zaniewski
                                                                                   a Marshal
                                                                            Iic..tMord. County

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             STATEMENT OF AMOUNT IN DEMAND

            The amount in demand is greater than $15,000.00

                    exclusive of attorneys and costs.




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                EXHIBIT 1
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                            STATE OF CONNECTICUT
                COMMISSION ON HUMAN RIGHTS AND OPPORTUNITIES

Dylan Begin
COMPLAINANT
                                                             CHRO No. 2130006
VS.                                                          EEOC No. 16A202001285

Becton Dickinson & Co
RESPONDENT

                                  RELEASE OF JURISDICTION

The Commission on Human Rights and Opportunities hereby releases its jurisdiction over the above-
identified complaint. The Complainant is authorized to commence a civil action in accordance with
CONN. GEN. STAT. § 46a-100 against the Respondent in the Superior Court for the judicial district
in which the discriminatory practice is alleged to have occurred, in which the Respondent transacts
business or in which the Complainant resides. If this action involves a state agency orofficial, it may
be brought in the Superior Court for the judicial district of Hartford.

A copy of any civil action brought pursuant to this release must be served on the Commission at
ROJAct.gov or at 450 Columbus Blvd., Suite 2, Hartford, CT 06103 at the same time all other parties
are sewed. Electronic service is preferred. THE COMMISSION MUST BE SERVED BECAUSE
IT HAS A RIGHT TO INTERVENE IN ANY ACTION BASED ON A RELEASE OF
JURISDICTION PURSUANT TO CONN. GEN. STAT. § 46a-103._

The Complainant must bring an action in Superior Court within 90 days of receipt of this release and
within two years of the date of filing the complaint with the Commission unless circumstances
tolling the statute of limitations are present.




DATE:           June 16, 2021              Tanya A. Hughes, Executive Director


Service:
Complainant: dbegin87agmail.com
Complainant's attorney: jsabatiniAsabatinilaw.com
Respondent: Hannah.colee,bd.com                                               TRU CS Y
Respondent's attorney: Kelly.cardin ogletreedeakins.com

                                                                             la   . Zaniewski
                                                                              State Marshal
                                                                            Hartford, County
